                    Case 1:23-cv-00142-BLW Document 16-1 Filed 04/06/23 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                             District
                                                     __________       of Idaho
                                                                District  of __________

   PLANNED PARENTHOOD GREAT NORTHWEST, HAWAII,                           )
    ALASKA, INDIANA, KENTUCKY,on behalf of itself, its staff,            )
 physicians and patients, CAITLIN GUSTAFSON, M.D., on behalf
 of herself and her patients, and DARIN L. WEYHRICH, M.D., on
                                                                         )
                 behalf of himself and his patients,                     )
                            Plaintiff(s)                                 )
                                                                         )
                                v.                                              Civil Action No. 1:23-cv-00142-DKG
                                                                         )
RAÚL LABRADOR, in his official capacity as Attorney General of           )
 the State of Idaho; MEMBERS OF THE IDAHO STATE BOARD
OF MEDICINE and IDAHO STATE BOARD OF NURSING, in their
                                                                         )
  official capacities, COUNTY PROSECUTING ATTORNEYS, in                  )
                        their official capacities,                       )
                           Defendant(s)                                  )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Jan M. Bennetts
                                           Ada County Prosecuting Attorney
                                           Ada County Prosecutor’s Office
                                           200 West Front Street, Room 3191
                                           Boise, ID 83702



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Colleen R. Smith (ISB No. 10023)
                                           Stris & Maher LLP
                                           American Civil Liberties Union of Idaho Foundation Cooperating Attorney
                                           1717 K Street NW, Suite 900
                                           Washington, DC 20006
                                           T: 202-800-5749
                                           csmith@stris.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                                   CLERK OF COURT
                                                                                                              
Date: 04/06/2023                                                                                             Laura McInnes
                                                                                               Signatureon  Apr or
                                                                                                        of Clerk 06, 2023Clerk
                                                                                                                   Deputy  9:50 am
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 Civil Action No. 1:23-cv-00142-DKG

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    Jan M. Bennetts, Ada County Prosecuting Attorney
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
